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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:06CR208
                              )
          v.                  )
                              )
ANTONIO GARCIA,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           The Court has been advised that defendant wishes to

enter a plea in the above matter.         Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, October 26, 2006, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

           DATED this 16th day of October, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
